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                        UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

 UNITED STATES OF AMERICA ex rel.
 JOSEPH SEIKEL and TERENCE SEIKEL,

        Plaintiffs/Relators,

 v.                                                     Case No.: 1:23-cv-01

 DAVID B. ALVAREZ; APPLIED
 CONSTRUCTION SOLUTIONS, INC.;
 ENERGY TRANSPORTATION, LLC;
 ENERGY RESOURCE GROUP, LLC;
 ET360, LLC; BEAR CONTRACTING, LLC;
 BEAR UTILITIES, LLC; JASON P.
 HENDERSON; and JOHN DOES NOS. 1-50,
 FICTITIOUS NAMES;
                                                      ORDER ADOPTING
        Defendants.                                  JOINT STIPULATION

       The parties have met and conferred and agreed on a schedule to allow Relators to file an

amended Complaint per FRCP 15(a)(1)(B) as well as for setting deadlines to respond to pending

Motions to Dismiss (Dkt. Nos. 63 and 66) and potential future Motions to Dismiss.

       IT IS HEREBY STIPULATED AND AGREED, by and among the undersigned the

following:

       1.      Relators may file an amended Complaint as provided for in FRCP 15(a)(1)(B).

       2.      The 21-day deadline contemplated in FRCP 15(a)(1)(B) shall be extended by 14

additional days. This makes April 4, 2023 the new deadline for Relators to file their amended

Complaint.

       3.      Defendants reserve the right to object to Relator’s amendment except on the basis

that such an amendment is untimely under FRCP 15(a)(1)(B).




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       4.     Defendants shall have 30 days to file responsive pleadings to the Relators’

Amended Complaint once filed.

       5.      Relators shall have 30 days to respond to any motion(s) to dismiss filed by

Defendants in response to Relators’ Amended Complaint. If for any reason the Court enters an

order denying amendment of Relators’ Complaint, then Relators shall have 30 days from the date

of the Court Order to respond to the Defendants’ current Motions to Dismiss (Dkt. Nos. 63 and

66).



Dated: March 14, 2023.



SO ORDERED:



____________________________
Honorable Thomas S. Kleeh




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AGREED:

DAVID B. ALVAREZ; APPLIED                        UNITED STATES OF AMERICA
CONSTRUCTION SOLUTIONS, INC.;                    ex rel. JOSEPH SEIKEL and
ENERGY TRANSPORTATION, LLC                       TERRENCE SEIKEL

/s/ Marc R. Weintraub__________________          /s/ Anthony J. Majestro___________
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ENERGY RESOURCE GROUP, LLC;
ET360, LLC; and JASON HENDERSON

/s/ Allison B. Williams___________________
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